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______________________________________________________________________

                IN THE UNITED STATES DISTRICT COURT FOR
                  THE MIDDLE DISTRICT OF PENNSYLVANIA
______________________________________________________________________________


UNITED STATES OF AMERICA            :
                                    :     3:20-CR-00228-RDM
            v.                      :
                                    :
  KURT MORAN                        :
______________________________________________________________________________

                                      ORDER


      AND NOW, TO WIT, this            day of       2021, it is hereby

ORDERED and DECREED that the Defendant's Motion to postpone the change of plea hearing.

                                        BY THE COURT:



                                        ________________________________
                                                                     J.
            Case 3:20-cr-00228-RDM Document 29 Filed 09/29/21 Page 2 of 6




______________________________________________________________________

                IN THE UNITED STATES DISTRICT COURT FOR
                  THE MIDDLE DISTRICT OF PENNSYLVANIA
______________________________________________________________________________

UNITED STATES OF AMERICA            :
                                    :     3:20-CR-00228-RDM
            v.                      :
                                    :
  KURT MORAN                        :
______________________________________________________________________________


       DEFENDANT'S MOTION TO POSTPONE CHANGE OF PLEA HEARING

       Defendant, KURT MORAN, by his attorneys, BRIAN J. MCMONAGLE, and ROBERT

LEVANT, petition this Honorable Court to continue postpone his change of plea hearing and

states in support thereof the following:

       1.       The defendant is scheduled for a change of plea hearing for October 1, 2021.

       2.       Defendant respectfully requests a postponement of his change of plea hearing and

       will report to the Court and the Government withing 14 days of the status of the Change

       of Plea.

       3.       That all parties consent to the postponement request.
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      WHEREFORE, we respectfully request that the Court postpone the Change of Plea

Hearing.

                                        Respectfully submitted,

                                        s/BRIAN J. MCMONAGLE
                                        BRIAN J. MCMONAGLE, ESQUIRE
                                        1845 Walnut Street
                                        19th Floor
                                        Philadelphia, PA 19103
                                        (215) 981-0999
                                        Fax (215) 981-0977
                                         bmcmonagle@mpmpc.com

                                        Attorney for Defendant Kurt Moran
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______________________________________________________________________


                IN THE UNITED STATES DISTRICT COURT FOR
                  THE MIDDLE DISTRICT OF PENNSYLVANIA
______________________________________________________________________________


UNITED STATES OF AMERICA             :     NO. 3:CR-20-228
                                     :
            v.                       :     (Judge Mariani)
                                     :
KURT MORAN                            :    Filed Electronically
______________________________ _______________________________________________


                           CERTIFICATE OF CONCURRENCE


       Brian J. McMonagle, Esq, hereby certifies that Michelle L. Olshefski, Assistant United

States Attorney, counsel for the government, concurs in the within Motion.

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                                            /s/ Brian J. McMonagle
                                            BRIAN J. MCMONAGLE, ESQ


September 29, 2021
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                               CERTIFICATE OF SERVICE



        BRIAN J. MCMONAGLE, Esquire hereby certifies that a true and correct copy of the

within Motion to Postpone the Change of Plea has been served on all parties by being

electronically filed.



                                           s/ BRIAN J. MCMONAGLE
                                           BRIAN J. MCMONAGLE, Esquire
                                           Attorney for defendant
                                           1845 Walnut Street
                                           Philadelphia, PA 19103
                                           (215) 981-0999




DATED: September 29, 2021
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